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                                                                                                        E-FILED
                                                                            Monday, 18 May, 2020 01:58:44 PM
                                                                                Clerk, U.S. District Court, ILCD

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  SPRINGFIELD DIVISION

DWIGHT LONG,

                  Plaintiff,                                No. 19-C-03195
       v.
                                                            Honorable Colin Sterling Bruce
TERRY MARTIN, et al.,

                   Defendants.

                         DEFENDANTS’ MOTON TO FILE INSTANTER

        Defendants, Terry Martin and Kimberly Barbee, by and through their attorney, Kwame

 Raoul, Illinois Attorney General, respectfully request this Honorable Court grant them leave to file

 their responsive pleading to Plaintiff’s Complaint, instanter. In support thereof, Defendants state

 the following:

        1.        Pursuant to their waivers of service, Defendants Martin and Barbee’s responsive

 pleadings were due on March 6, 2020, and March 27, 2020, respectively. See Dkts. 14, 15.

        2.        In mid-March 2020, concerns over the spread of the COVID-19 virus continued to

 heighten which culminated in the Illinois Governor’s first “Stay-at-Home” Executive Order issued

 on March 20, 2020. Since that time, Illinois residents have been subject to various restrictions on

 their movements which has greatly impacted their daily lives, both personally and professionally.

        3.        In response to the COVID-19 pandemic, many employers, including the Illinois

 Attorney General’s Office, have been diligently implementing a work-from-home environment

 which has been challenging, and has required a change in normal business operations.

        4.        Due the challenges faced, and some resulting miscommunications, the Defendants’

 attorney in this case failed to meet certain deadlines set by the Court.

        5.        To remedy this situation, the Attorney General’s Office has taken steps to address
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the communication issues, and has taken the further step of re-assigning this case to the

undersigned attorney who is in a position to meet future deadlines set in this matter.

       6.       The undersigned filed his appearance on May 18, 2020.

         7.     The undersigned counsel sincerely apologizes to the Court and Plaintiff for the

untimeliness of Defendants’ filings.

         8.     Accordingly, the undersigned is respectfully requesting leave to file, instanter,

Defendants’ responsive pleading to Plaintiff’s Complaint.

         9.     Defendants bring this motion in good faith and not for the improper purpose of

undue delay. Plaintiff will not be prejudiced if this motion is granted.

         10.    WHEREFORE, Defendants respectfully request the Court grant them leave to file

their responsive pleading to Plaintiff’s Complaint, instanter, and for such further relief as this

Honorable Court deems appropriate and just

 Dated: May 18, 2020                               Respectfully Submitted,
                                                   /s/ Nicholas S. Staley
 KWAME RAOUL                                       NICHOLAS S. STALEY
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                                                   Assistant Attorney General
                                                   General Law Bureau
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